Information to identify the case:

Debtor 1:
                      Tuong Nguyen Nguyen                                              Social Security number or ITIN:   xxx−xx−2353
                                                                                       EIN: _ _−_ _ _ _ _ _ _
                      First Name   Middle Name   Last Name

Debtor 2:                                                                              Social Security number or ITIN: _ _ _ _
                      First Name   Middle Name   Last Name
(Spouse, if filing)                                                                    EIN: _ _−_ _ _ _ _ _ _
United States Bankruptcy Court:        District of Oregon                              Date case filed for chapter:        7     2/14/19

Case number:           19−60422−pcm7

Official Form 309A (For Individuals or Joint Debtors)
Notice of Chapter 7 Bankruptcy Case −− No Proof of Claim Deadline                                                                   12/15

For the debtors listed above, a case has been filed under chapter 7 of the Bankruptcy Code. An order for relief has
been entered.

This notice has important information about the case for creditors, debtors, and trustees, including information about
the meeting of creditors and deadlines. Read all pages carefully.

The filing of the case imposed an automatic stay against most collection activities. This means that creditors generally may not
take action to collect debts from the debtors or the debtors' property. For example, while the stay is in effect, creditors cannot
sue, garnish wages, assert a deficiency, repossess property, or otherwise try to collect from the debtors. Creditors cannot
demand repayment from debtors by mail, phone, or otherwise. Creditors who violate the stay can be required to pay actual and
punitive damages and attorney's fees. Under certain circumstances, the stay may be limited to 30 days or not exist at all,
although debtors can ask the court to extend or impose a stay.

The debtors are seeking a discharge. Creditors who assert that the debtors are not entitled to a discharge of any debts or who
want to have a particular debt excepted from discharge may be required to file a complaint in the bankruptcy clerk's office within
the deadlines specified in this notice. (See line 9 for more information.)

To protect your rights, consult an attorney. All documents filed in the case may be inspected at the bankruptcy clerk's office at
the address listed below or through PACER (Public Access to Court Electronic Records at www.pacer.gov).

The staff of the bankruptcy clerk's office cannot give legal advice.

To help creditors correctly identify debtors, debtors submit full Social Security or Individual Taxpayer Identification
Numbers, which may appear on a version of this notice. However, the full numbers must not appear on any document
filed with the court.

Do not file this notice with any proof of claim or other filing in the case. Do not include more than the last four digits of
a Social Security or Individual Taxpayer Identification Number in any document, including attachments, that you file
with the court.
                                                 About Debtor 1:                                            About Debtor 2:

1.        Debtor's full name                     Tuong Nguyen Nguyen

2.        All other names used in the aka Tuong Nguyen
          last 8 years

3.      Address                                  1690 W. Meadows Dr. NW
                                                 Salem, OR 97304

4.      Debtor's attorney                        THEODORE J PITEO                                           Contact phone (503) 786−3800
                                                 Michael D. O'Brien & Associates
        Name and address                         12909 SW 68th Pkwy
                                                 Suite 160
                                                 Portland, OR 97223

5.      Bankruptcy trustee                       Jeanne E Huffman                                           Contact phone 541−612−6765
                                                 Jeanne E. Huffman, Trustee LLC
        Name and address                         25 SE Dorion #129
                                                 Pendleton, OR 97801
                                                                                                           For more information, see pages 2 & 3 >
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6. Bankruptcy clerk's office                      405 E 8th Ave #2600                                         Office Hours 9:00 a.m. − 4:30 p.m.
                                                  Eugene, OR 97401
    Documents in this case may be filed at this                                                               Contact phone 541−431−4000
    address. You may inspect all records filed
    in this case at this office or online at
    www.pacer.gov.                                                                                            Date: 2/14/19


7. Meeting of creditors                           March 22, 2019 at 10:00 AM                                  Location:

    Debtors must attend the meeting to be         The meeting may be continued or adjourned to a              Holiday Inn, 3301 Market St NE,
    questioned under oath. In a joint case,       later date. If so, the date will be on the court            Salem, OR 97301
    both spouses must attend. Creditors may
    attend, but are not required to do so.        docket. Photo ID is required. Debtors must also
                                                  provide proof of reported social security numbers
                                                  (for example, social security card; medical
                                                  insurance card; pay stub; W−2 form; IRS form
                                                  1099; or Social Security Admin.report).

8. Presumption of abuse                           The presumption of abuse does not arise.

    If the presumption of abuse arises, you
    may have the right to file a motion to
    dismiss the case under 11 U.S.C. §
    707(b). Debtors may rebut the
    presumption by showing special
    circumstances.


9. Deadlines                                   File by the deadline to object to discharge or                 Filing deadline: 5/21/19
                                               to challenge whether certain debts are
    The bankruptcy clerk's office must receive dischargeable:
    these documents and any required filing
    fee by the following deadlines. See line 13
    for other important deadlines.              You must file a complaint:
                                                • if you assert that the debtor is not entitled to
                                                  receive a discharge of any debts under any of the
                                                  subdivisions of 11 U.S.C. § 727(a)(2) through (7),
                                                  or

                                                  • if you want to have a debt excepted from discharge
                                                    under 11 U.S.C § 523(a)(2), (4), or (6).

                                                  You must file a motion:
                                                  • if you assert that the discharge should be denied
                                                    under § 727(a)(8) or (9).


                                                  Deadline to object to exemptions:                           Filing deadline: 30 days after the
                                                  The law permits debtors to keep certain property as         conclusion of the meeting of creditors
                                                  exempt. If you believe that the law does not authorize an
                                                  exemption claimed, you may file an objection.


10. Proof of claim                                No property appears to be available to pay creditors. Therefore, please do not file a
                                                  proof of claim now. If it later appears that assets are available to pay creditors, the clerk
    Please do not file a proof of claim unless    will send you another notice telling you that you may file a proof of claim and stating the
    you receive a notice to do so.                deadline.

11. Creditors with a foreign address If you are a creditor receiving a notice mailed to a foreign address, you may file a motion
                                     asking the court to extend the deadlines in this notice. Consult an attorney familiar with
                                     United States bankruptcy law if you have any questions about your rights in this case.

12. Exempt property                               The law allows debtors to keep certain property as exempt. Fully exempt property will
                                                  not be sold and distributed to creditors. Debtors must file a list of property claimed as
                                                  exempt. You may inspect that list at the bankruptcy clerk's office or online at
                                                  www.pacer.gov. If you believe that the law does not authorize an exemption that the
                                                  debtors claim, you may file an objection. The bankruptcy clerk's office must receive the
                                                  objection by the deadline to object to exemptions in line 9.
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13.    Notices Re Proposed Dismissal           This case may be dismissed without further prior notice if the debtors fail to
       of Case/Undue Hardship                  complete the meeting of creditors, timely file any documents, or make fee payments
       Presumption; and                        ordered by the Court, unless within 21 days of the date in line 6 a party in interest
       Abandonment of Debtor's                 files a written objection to dismissal, setting forth specific grounds, with the Court
       Residence (Real Property)               and sends copies to the debtors' attorney (or debtors if pro se) and trustee.
                                               Any presumption of undue hardship that may exist in a reaffirmation agreement
                                               filed by the debtors shall remain in effect until the effective date of any discharge
                                               order entered in this case unless a party in interest objects by 5/21/19.
                                               At least 5 days prior to the date of the meeting of creditors, any party in interest who
                                               objects to abandonment of the debtors' residence (real property) must file with the
                                               Court a written objection and serve a copy on the debtors and debtors' attorney. If
                                               no timely objection is filed, the trustee can abandon the property at or after the
                                               meeting of creditors upon request of the debtors or mortgage creditor without any
                                               further notice requirement. Mortgage creditors are authorized to negotiate a loan
                                               modification with a debtor either before or after the meeting of creditors, but any
                                               modification reached cannot become effective until the property is abandoned.
                                               Mortgage creditors may use the procedure outlined in LBF 751.7, available at
                                               https://www.orb.uscourts.gov, to obtain such abandonment. A creditor's contact
                                               with the debtors and/or debtors' attorney to effect a modification shall not be
                                               considered a violation of the automatic stay of 11 USC §362. Negotiations with
                                               represented debtors must be with debtors' counsel who may consent to the creditor
                                               communicating directly with the debtors.

14.    Trustee Appointment                     The trustee named above is hereby appointed as interim trustee in this case. The
                                               trustee's bond shall be the blanket bond previously approved and filed with the U.S.
                                               Bankruptcy Court Clerk. UNITED STATES TRUSTEE

15.    Court Information and Legal             Court information is available at https://www.orb.uscourts.gov. For account numbers,
       Advice                                  etc. contact the debtor's attorney. Contact your own attorney with other questions and
                                               to protect your rights. The clerk's office staff is forbidden by law from giving legal
                                               advice.
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